Case 21-30589-MBK            Doc 1443 Filed 02/09/22 Entered 02/09/22 19:49:13                            Desc Main
                                     Document    Page 1 of 16



                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY

     In re:                                                       Chapter 11

     LTL MANAGEMENT LLC,1                                         Case No. 21-30589 (MBK)

                     Debtor.
                                                                  Ref. Docket Nos. 1306, 1309-1310, & 1319

                                         AFFIDAVIT OF SERVICE

 STATE OF NEW YORK  )
                    ) ss.:
 COUNTY OF NEW YORK )

 PANAGIOTA MANATAKIS, being duly sworn, deposes and says:

 1. I am employed as a Senior Case Manager by Epiq Corporate Restructuring, LLC, located at
    777 Third Avenue, New York, New York 10017. I am over the age of eighteen years and am
    not a party to the above-captioned action.

 2. On January 31, 2022, I caused to be served the following:

        a. “Modified Local Form Certification of No Objection Regarding Monthly Fee Statement
           of Wollmuth, Maher & Deutsch LLP for the Period of December 16, 2021 Through
           December 31, 2021,” dated January 31, 2022 [Docket No. 1306], (the “CNO
           Wollmuth”),

        b. “Notice of Debtor’s Application for Entry of the Stipulation and Order Regarding
           Discovery Plan and ESI Protocol Pursuant to D.N.J. LBR 9021-1(b),” dated January 31,
           2022 [Docket No. 1309], (the “Discovery Motion”),

        c. “Declaration of Ordinary Course Professional,” dated January 31, 2022 [Docket No.
           1310], (the “OCP Declaration”), and

        d. “Notice of Agenda of Matters Scheduled for Hearing on February 2, 2022 at 10:00
           A.M.,” dated January 31, 2022 [Docket No. 1319], (the “Agenda”),

 by causing true and correct copies of the:




 1
  The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
 501 George Street, New Brunswick, New Jersey 08933.
Case 21-30589-MBK        Doc 1443 Filed 02/09/22 Entered 02/09/22 19:49:13                 Desc Main
                                 Document    Page 2 of 16



       i.   CNO Wollmuth, Discovery Motion, OCP Declaration and Agenda to be enclosed
            securely in separate postage pre-paid envelopes and delivered via first class mail to
            those parties listed on the annexed Exhibit A,

      ii.   CNO Wollmuth, Discovery Motion, OCP Declaration and Agenda to be delivered via
            electronic mail to those parties listed on the annexed Exhibit B,

     iii.   CNO Wollmuth to be delivered via electronic mail to those parties listed on the
            annexed Exhibit C.

 3. All envelopes utilized in the service of the foregoing contained the following legend:
    LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
    ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                    /s/ Panagiota Manatakis
                                                                    Panagiota Manatakis
  Sworn to before me this
  1st day of February, 2022
  /s/ Diane M. Streany
  Notary Public, State of New York
  No. 01ST5003825
  Qualified in Westchester County
  Commission Expires November 2, 2022
Case 21-30589-MBK   Doc 1443 Filed 02/09/22 Entered 02/09/22 19:49:13   Desc Main
                            Document    Page 3 of 16




                                EXHIBIT A
                                                LTL Management LLC
        Case 21-30589-MBK            Doc 1443 FiledService
                                                    02/09/22
                                                           List
                                                                Entered 02/09/22 19:49:13          Desc Main
                                             Document    Page 4 of 16
Claim Name                               Address Information
ARNOLD & ITKIN LLP                       ATTN KURT B ARNOLD, CAJ BOATRIGHT, ROLAND CHRISTENSEN & JASON ITKIN 6009
                                         MEMORIAL DRIVE HOUSTON TX 77007
ASHCRAFT & GEREL, LLP                    ATTN MICHELLE PARFITT, JAMES F. GREEN & PATRICK LYONS 1825 K STREET, NW, STE
                                         70 WASHINGTON DC 20006
AYLSTOCK WITKIN KREIS &                  OVERHOLTZ PLLC; ATN MARY PUTNICK & DANIEL THORNBURGH 17 E MAIN ST, STE 200; PO
                                         BOX 12630 PENSACOLA FL 32502
BAILEY & GLASSER LLP                     (COUNSEL TO OFFICIAL COMITTEE OF TALC CLAIMANTS) ATTN: CARY JOSHI 1055 THOMAS
                                         JEFFERSON ST NW, STE 540 WASHINGTON DC 20007
BALLARD SPAHR LLP                        (COUNSEL ALBERTSONS COMPANIES, INC) ATTN: TOBEY M. DALUZ, LESLIE C. HEILMAN,
                                         LAUREL D. ROGLEN 919 N. MARKET STREET, 11TH FLOOR WILMINGTON DE 19801
BARNES FIRM                              ATTN JOE VAZQUEZ 420 LEXINGTON AVE, STE 2140 NEW YORK NY 10170
BEASLEY ALLEN LAW FIRM                   ATTN: CHARLIE STERN & LEIGH O'DELL 218 COMMERCE ST PO BOX 4160 MONTGOMERY AL
                                         36104
BLANCO TACKABERY & MATAMOROS, P.A.       (COUNSEL TO IMERYS TALC AMERICA, INC) ATTN: ASHLEY S. RUSHER 404 NORTH
                                         MARSHALL ST WINSTON-SALEM NC 27101
BROWN RUDNICK LLP                        (COUNSEL TO OFFICIAL COMMITTEE OF TALC CLAIMANTS) ATTN: DAVID J. MOLTON &
                                         ROBERT J. STARK SEVEN TIMES SQUARE NEW YORK NY 10036
BROWN RUDNICK LLP                        (CO-COUNSEL TO THE COMMITTEE OF TALC CLAIMANTS) ATTN SUNNI P. BEVILLE ONE
                                         FINANCIAL CENTER BOSTON MA 02111
BURNS CHAREST LLP                        (COUNSEL TO PLAINTIFFS STEERING COMMITTEE) ATTN: DANIEL H CHAREST 900 JACKSON
                                         STREET, SUITE 500 DALLAS TX 75202
CELLINO LAW LLP                          ATTN BRIAN GOLDSTEIN 800 DELAWARE AVE BUFFALO NY 14209
CLYDE & CO US LLP                        (COUNSEL TO THE CONTINENTAL INSURANCE COMPANY) ATTN: KONRAD R. KREBS 200
                                         CAMPUS DR, STE 300 FLORHAM PARK NJ 07932
CLYDE AND CO US LLP                      (COUNSEL TO THE CONTINENTAL INSURANCE COMPANY) ATTN: CLINTON E. CAMERON,
                                         MEGHAN DALTON 55 WEST MONROE ST, STE 3000 CHICAGO IL 60603
COHEN, PLACITELLA & ROTH, P.C.           ATTN DENNIS M. GEIER & CHRISTOPHER M. PLACITELLA 127 MAPLE AVE RED BANK NJ
                                         07701
COHEN, PLACITELLA & ROTH, P.C.           ATTN JARED M. PLACITELLA 2001 MARKET ST, SUITE 2900 PHILADELPHIA PA 19103
COLE SCHOTZ P.C.                         (COUNSEL TO CLAIMANTS REPRESENTED BY BARNES LAW) ATTN: FELICE R. YUDKIN 25
                                         MAIN ST, P.O. BOX 800 HACKENSACK NJ 07602-0800
COLE SCHOTZ P.C.                         (COUNSEL TO CLAIMANTS REPRESENTED BY BARNES LAW) ATTN: MARK TSUKERMAN 1325
                                         AVENUE OF THE AMERICAS 19TH FLOOR NEW YORK NY 10019-6079
COOLEY LLP                               (COUNSEL TO OFFICIAL COMMITTEE OF TALC CLAIMANTS) ATTN: EVAN M. LAZEROWITZ 55
                                         HUDSON YARDS NEW YORK NY 10001
CORDES LAW, PLLC                         (COUNSEL TO BCBS OF MASSACHUSETTS, INC.) ATTN STACY C. CORDES & MEGHAN A. VAN
                                         VYNCKT 1800 EAST BOULEVARD CHARLOTTE NC 28203
CROWELL & MORING LLP                     (COUNSEL TO CENTURY INSURERS) ATTN GREGORY GENNADY PLOTKO 590 MADISON AVENUE,
                                         19TH FLOOR NEW YORK NY 10022-2524
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                                         PENNSYLVANIA AVE, N.W. WASHINGTON DC 20004
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                                         EMBARCADERO CENTER, 26TH FLOOR SAN FRANCISCO CA 94111
DALIMONTE RUEB STOLLER, LLP              ATTN JOHN A DALIMONTE, JENNIFER ORENDI & GREGORY RUEB 1250 CONNECTICUT AVE NW,
                                         STE 200 WASHINGTON DC 20036
DAVID CHRISTIAN ATTORNEYS LLC            (COUNSEL TO THE CONTINENTAL INSURANCE COMPANY) ATTN: DAVID CHRISTIAN 105 W.
                                         MADISON ST., STE 1400 CHICAGO IL 60602
DEAN OMAR BRANHAM SHIRLEY, LLC           ATTN JESSICA DEAN, J BRADLEY SMITH, CHARLES W BRANHAM III 302 N MARKET ST, STE
                                         300 DALLAS TX 75202
DLA PIPER LLP (US)                       (COUNSEL TO CENTURY INSURERS) ATN AIDAN MCCORMACK & BRIAN SEIBERT 1251 AVENUE
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DRISCOLL FIRM, LLC                       ATTN JOHN DRISCOLL 211 NORTH BROADWAY, 40TH FL ST LOUIS MO 63102
DUANE MORRIS LLP                         (COUNSEL TO REPUBLIC INDEMNITY) ATTN: SOMMER L. ROSS 1940 ROUTE 70 EAST, STE


Epiq Corporate Restructuring, LLC                                                                           Page 1 OF 5
                                                LTL Management LLC
        Case 21-30589-MBK            Doc 1443 FiledService
                                                    02/09/22
                                                           List
                                                                Entered 02/09/22 19:49:13          Desc Main
                                             Document    Page 5 of 16
Claim Name                               Address Information
DUANE MORRIS LLP                         100 CHERRY HILL NJ 08003-2171
DUANE MORRIS LLP                         (COUNSEL TO REPUBLIC INDEMNITY) ATTN: PHILIP R. MATTHEWS SPEAR TOWER ONE
                                         MARKET PLAZA, STE 2200 SAN FRANCISCO CA 94105-1127
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                                         07102
EMMET, MARVIN & MARTIN LLP               (COUNSEL TO PTI UNION LLC & PTI ROYSTON LLC) ATTN: THOMAS A PITTA 120
                                         BROADWAY, 32ND FLOOR NEW YORK NY 10271
FEARS NACHAWATI LAW FIRM                 ATTN DARREN MCDOWEL & MAJED MACHAWATI 5473 BLAIR RD DALLAS TX 75231
FERRARO LAW FIRM                         ATN LESLIE ROTHENBERG & JOSE BECERR 600 BRICKELL AVE, STE 3800 MIAMI FL 33131
FISHERBROYLES LLP                        (COUNSEL TO TRAVELERS CASUALTY AND SURETY CO.) ATTN: DEBORAH L FLETCHER 338
                                         SHARON AMITY ROAD, #518 CHARLOTTE NC 28211
FLINT LAW FIRM LLC                       ATTN ETHAN FLINT 222 E PARK ST, STE 500, PO BOX 189 EDWARDSVILLE IL 62034
GENOVA BURNS LLC                         (COUNSEL TO OFFIC. COMMIT. OF TALC CLAIMANTS) ATTN: DANIEL M. STOLZ, ESQ,
                                         DONALD W. CLARKE, ESQ, MATTHEW I. W. BAKER, ESQ 110 ALLEN ROAD, STE 304
                                         BASKING RIDGE NJ 07920
GIMIGLIANO MAURIELLO & MALONEY           (COUNSEL TO TRAVELERS) ATTN STEPHEN V. GIMIGLIANO, JOHN MALONEY & ROBIN
                                         RABINOWITZ PO BOX 1449 MORRISTOWN NJ 07962-1449
GOLOMB SPIRIT GRUNFELD, PC               ATN RICHARD GOLOMB, ANDREW SPIRIT & KENNETH GRUNFELD 1835 MARKET ST, STE 2900
                                         PHILADELPHIA PA 19103
GREENBAUM, ROWE, SMITH & DAVIS LLP       (COUNSEL TO MOTLEY RICE LLC) ATTN: NANCY ISAACSON, ESQ 75 LIVINGSTON AVENUE
                                         STE 301 ROSELAND NJ 07068
GREENBERG TRAURIG, LLP                   (COUNSEL TO BAUSCH HEALTH) ATTN: ALAN J. BRODY 500 CAMPUS DRIVE FLORHAM PARK
                                         NJ 07932
HALPERIN BATTAGLIA BENZIJA LLP           (COUNSEL TO BLUE CROSS BLUE SHIELD) ATTN: ALAN D. HALPERIN, DONNA H. LIEBERMAN
                                         40 WALL STREET, 37TH FLOOR NEW YORK NY 10005
HERRICK FEINSTEIN LLP                    (COUNSEL TO THE AMICI PROFESSORS) ATTN: STEVEN SMITH, RACHEL GINZBURG 2 PARK
                                         AVE NEW YORK NY 10016
HILL HILL CARTER FRANCO COLE &           BLACK, PC ATTN ELIZABETH CARTER 425 PERRY STREET MONTGOMERY AL 36104
HONIK LLC                                ATTN RUBEN HONIK & DAVID STANOCH 1515 MARKET ST, STE 1100 PHILADELPHIA PA
                                         19102
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                                         ERIN E. DIERS ONE BATTERY PARK PLAZA NEW YORK NY 10004
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                                         CHAPEL HILL NC 27517
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                                         CHARLOTTE NC 28233
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                                         & ANDREW S. GOLDEN 1633 BROADWAY NEW YORK NY 10019
KASOWITZ BENSON TORRES LLP               (COUNSEL TO CYPRUS MINES CORPORATION) ATTN: MICHAEL E. HUTCHINS 1230
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                                         CHARLOTTE NC 28202


Epiq Corporate Restructuring, LLC                                                                         Page 2 OF 5
                                                LTL Management LLC
        Case 21-30589-MBK            Doc 1443 FiledService
                                                    02/09/22
                                                           List
                                                                Entered 02/09/22 19:49:13          Desc Main
                                             Document    Page 6 of 16
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KING & SPALDING LLP                      (COUNSEL TO BESTWALL LLC) ATTN: RICHARD A. SCHNEIDER 1180 PEACHTREE STREET,
                                         N.E. ATLANTA GA 30309
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                                         BRANZBURG 10000 LINCOLN DRIVE E, STE 201 MARLTON NJ 08053
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                                         ESQ, ROBERT J PFISTER, ESQ, SAMUEL M KIDDER, ESQ & NIR MAOZ, ESQ 1801 CENTURY
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                                         THE AMERICAS NEW YORK NY 10020-1401
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                                         POSIN, AMY C. QUARTAROLO 355 SOUTH GRAND AVENUE, SUITE 100 LOS ANGELES CA
                                         90071-1560
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                                         BLDG 5, STE 110 LAWRENCEVILLE NJ 08648
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LLC                                      MAIN STREET, STE 7 CLINTON NJ 08809
LAW OFFICES OF R. KEITH JOHNSON, P.A.    (COUNSEL TO LINDA RABASCA AND BRANDI CARL) ATTN: R. KEITH JOHNSON 1275 S. NC
                                         BUS. HWY. 16 STANLEY NC 28164
LEVIN PAPANTONIO RAFFERTY                ATTN: CHRISTOPHER TISI 316 S BAYLEN STREET, SUITE 600 PENSACOLA FL 325002
LEVY KONIGSBERG LLP                      ATTN MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP NJ 08648
LEVY KONIGSBERG LLP                      (COUNSEL TO RANDY DEROUEN) ATTN JEROME BLOCK & AUDREY RAPHAEL 605 THIRD AVE.,
                                         33RD FLOOR NEW YORK NY 10158
LOWENSTEIN SANDLER LLP                   (COUNSEL TO JOHNSON & JOHNSON) ATTN: KENNETH A. ROSEN, MARY E. SEYMOUR ONE
                                         LOWENSTEIN DR ROSELAND NJ 07068
MANIER & HEROD, P.C.                     (COUNSEL TO WESTCHESTER FIRE INSURANCE COMPANY) ATTN: ROBERT W. MILLER 1201
                                         DEMONBREUN ST. SUITE 900 NASHVILLE TN 37203
MARSHACK HAYS LLP                        (COUNSEL TO VARIOUS TALC CLAIMANTS) ATTN: LAILA MASUD, ESQ. 870 ROOSEVELT
                                         IRVINE CA 92620
MAUNE RAICHLE HARTLEY FRENCH &           MUDD, LLC ATTN T BARTON FRENCE 1015 LOCUST ST, STE 1200 ST. LOUIS MO 63101
MCCARTER & ENGLISH LLP                   ATTN: BRETT D. KAHN, THOMAS W. LADD FOUR GATEWAY CENTER 100 MULBERRY STREET
                                         NEWARK NJ 07102
MCMANIMON, SCOTLAND & BAUMANN, LLC       (COUNSEL TO ALISHIA LANDRUM) ATTN: ANTHONY SODONO, SARI PLACONA 75 LIVINGSTON
                                         AVE, 2ND FL ROSELAND NJ 07068
MENDES & MOUNT LLP                       (COUNSEL TO ATLANTA INTERNATIONAL INSURANCE ETC) ATTN: EILEEN T. MCCABE,
                                         STEPHEN T. ROBERTS 750 SEVENTH AVENUE NEW YORK NY 10019
MILLER FIRM, LLC                         ATTN CURTIS G HOKE 108 RAILROAD AVE ORANGE VA 22960
MOON WRIGHT & HOUSTON, PLLC              (COUNSEL TO ARNOLD & ITKIN PLAINTIFFS) ATTN RICHARD S WRIGHT, ANDREW T HOUSTON
                                         & CALEB BROWN 121 W. TRADE STREET, SUITE 1950 CHARLOTTE NC 28202
MOORE & VAN ALLEN PLLC                   (COUNSEL TO J & J AND J & J CONSUMER INC.) ATTN HILLARY B CRABTREE 100 N TRYON
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MOTLEY RICE LLC                          (COUNSEL TO PLAINTIFFS) ATTN: DANIEL R. LAPINSKI 210 LAKE DRIVE EAST, STE 101
                                         CHERRY HILL NJ 08002
MOTLEY RICE LLC                          ATTN JOHN D HURST 50 CLAY ST, STE 1 MORGANTOWN WV 26501
MOTLEY RICE LLC                          ATTN CARMEN S. SCOTT 28 BRIDGESIDE BLVD MOUNT PLEASANT SC 29464
NAPOLI SHKOLNIK PLLC                     ATTN JAMES D HEISMAN & CHRISTOPHER R LOPALO 919 NORTH MARKET ST, STE 1801
                                         WILMINGTON DE 19801
NORTHERN BLUE, LLP                       (COUNSEL TO CYPRUS MINES CORPORATION) ATTN: JOHN A. NORTHEN 1414 RALEIGH ROAD,
                                         SUITE 435 CHAPEL HILL NC 27517
NORTHERN BLUE, LLP                       (COUNSEL TO CYRPUS MINES CORPORATION) ATTN: JOHN PAUL COURNOYER & VICKI L.
                                         PARROTT 1414 RALEIGH ROAD, SUITE 435 CHAPEL HILL NC 27517


Epiq Corporate Restructuring, LLC                                                                          Page 3 OF 5
                                               LTL Management LLC
        Case 21-30589-MBK           Doc 1443 FiledService
                                                   02/09/22
                                                          List
                                                               Entered 02/09/22 19:49:13          Desc Main
                                            Document    Page 7 of 16
Claim Name                              Address Information
NORTHERN BLUE, LLP                      (COUNSEL TO CYPRUS AMAX MINERALS COMPANY) ATTN: JOHN A. NORTHEN, JOHN PAUL H.
                                        COURNOYER & VICKI L. PARROTT 1414 RALEIGH ROAD, SUITE 435 CHAPEL HILL NC 27517
OFFICE OF THE ATTORNEY GENERAL OF TEXAS (COUNSEL FOR THE STATE OF TEXAS) ASSISTANT ATTORNEYS GENERAL ATTN: RACHEL R
                                        OBALDO & AUTUMN D HIGHSMITH PO BOX 12548- MC 008 AUSTIN TX 78711-2548
OFFICE OF THE US TRUSTEE                ATTN LAUREN BIELSKIE, JEFFREY M. SPONDER & MITCHELL B. HAUSMAN ONE NEWARK
                                        CENTER, STE 2100 NEWARK NJ 07102
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                                        ISELIN NJ 08830
OFFIT KURMAN, P.A.                      (COUNSEL TO AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC) ATTN PAUL R. BAYNARD,
                                        ESQ. 301 SOUTH COLLEGE ST, STE 2600 CHARLOTTE NC 28202
ONDERLAW, LLC                           ATTN JAMES ONDER 110 EAST LOCKWOOD, SECOND FL ST LOUIS MO 63119
OTTERBOURG P.C.                         (COUNSEL TO PLANTIFF'S STEERING COMMITTEE) ATTN: JOHN BOUGIAMAS, MELANIE L
                                        CYGANOWSKI & ADAM C SILVERSTEIN 230 PARK AVENUE NEW YORK NY 10169
PACHULSKI STANG ZIEHL & JONES LLP       (COUNSEL TO ARNOLD & ITKIN LLP) ATTN: LAURA JONES, KAREN DINE, COLIN ROBINSON,
                                        PETER KEANE 919 N. MARKET ST, 17TH FL WILMINGTON DE 19801
PARKER POE ADAMS & BERNSTEIN LLP        (COUNSEL FOR THE CONTINENTAL INSURANCE COMPANY) ATTN ASHLEY A EDWARDS, ESQ 620
                                        SOUTH TRYON ST, STE 800 CHARLOTTE NC 28202
PARKINS LEE & RUBIO LLP                 (COUNSEL TO ONDERLAW, LLC) ATTN: CHARLES M. RUBIO, LENARD M. PARKINS PENNZOIL
                                        PLACE 700 MILAM STREET SUITE 1300 HOUSTON TX 77002
PENSION BENEFIT GUARANTY CORPORATION    OFFICE OF THE GENERAL COUNSEL ATTN SIMON J TORRES 1200 K STREET, NW WASHINGTON
                                        DC 20005
PENSION BENEFIT GUARANTY CORPORATION    OFFICE OF THE GENERAL COUNSEL ATTN CAROLYN J LACHMAN 1200 K STREET, NW, STE
                                        340 WASHINGTON DC 20005-4026
PORZIO, BROMBERG & NEWMAN, P.C.         (COUNSEL TO RIO TINTO AMERICA HOLDINGS INC.,) ATTN: RACHEL A. PARISI, ESQ. 100
                                        SOUTHGATE PARKWAY MORRISTOWN NJ 07962
PRYOR CASHMAN LLP                       (COUNSEL WILLIAM HART PLAINTIFFS) ATTN: SETH H. LIEBERMAN & ANDREW S. RICHMOND
                                        7 TIMES SQUARE NEW YORK NY 10036-6569
RAWLINGS & ASSOCIATES                   (COUNSEL TO BLUE CROSS BLUE SHIELD) ATTN: MARK D FISCHER, ROBERT C GRIFFITH 1
                                        EDEN PARKWAY LA GRANGE KY 40031
REED SMITH LLP                          (COUNSEL TO CYPRUS MINES CORPORATION) ATTN: DEREK J. BAKER, ESQ. 506 CARNEGIE
                                        CENTER STE 300 PRINCETON NJ 08543
REED SMITH LLP                          (COUNSEL TO CYRUS MINES CORPORATION) ATTN JASON D ANGELO, ESQ 1201 MORTH
                                        MARKET STREET, SUITE 1500 WILMINGTON DE 19801
REED SMITH LLP                          (COUNSEL TO CYPRUS MINES CORPORATION) ATTN PAUL M SINGER, ESQ REED SMITH
                                        CENTRE 225 FIFTH AVENUE PITTSBURGH PA 15222
ROBINSON, CALCAGNIE, ROBINSON,          SHAPIRO, DAVIS, INC. ATTN MARK P. ROBINSON, JR. 19 CORPORATE PLAZA DRIVE
                                        NEWPORT BEACH CA 92660
ROSS FELLER CASEY, LLP                  ATTN: BRIAN J. MCCORMICK, JR. ONE LIBERTY PLACE 1650 MARKET ST, 34TH FL
                                        PHILADELPHIA PA 19103
RUGGERI PARKS WEINBERG LLP              (COUNSEL TO HARTFORD ACCIDENT AND INDEMNITY...) ATTN: JOSHUA D. WEINBERG,
                                        JOSHUA P. MAYER 1875 K STREET NW, STE 600 WASHINGTON DC 20006-1251
SAIBER LLC                              (COUNSEL TO KRISTIE LYNN DOYLE) ATTN: JOHN M AUGUST & MARC E WOLIN 18 COLUMBIA
                                        TURNPIKE, STE 200 FLORHAM PARK NJ 07932
SAVO, SCHALK, GILLESPIE, O'GRODNICK     & FISHER, P.A. (COUNSEL TO JEANNE STEPHENSON) ATTN: CHARLES S. SCHALK, JOHN F.
                                        BRACAGLIA JR. 56 EAST MAIN ST, STE 301 SOMERVILLE NJ 08876
SHERMAN SILVERSTEIN KOHL ROSE &         (COUNSEL TO OFFICIAL COMMITTEE OF TALC CLAIMANTS) ATTN: ARTHUR J ABRAMOWITZ,
PODOLSKY, P.A.                          ALAN I MOLDOFF ROSS J SWITKES 308 HARPER DRIVE, STE 200 MOORESTOWN NJ 08057
SIMMONS HANLY CONROY LLC                ATTN JAMES KRAMER 112 MADISON AVE NEW YORK NY 10016
SIMON GREENSTONE PANATIERE              BARTLETT, PC ATTN CHRIS PANATIER 1201 ELM ST, STE 3400 DALLAS TX 75204
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Epiq Corporate Restructuring, LLC                                                                         Page 4 OF 5
                                                LTL Management LLC
        Case 21-30589-MBK            Doc 1443 FiledService
                                                    02/09/22
                                                           List
                                                                Entered 02/09/22 19:49:13          Desc Main
                                             Document    Page 8 of 16
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Epiq Corporate Restructuring, LLC                                                                           Page 5 OF 5
Case 21-30589-MBK   Doc 1443 Filed 02/09/22 Entered 02/09/22 19:49:13   Desc Main
                            Document    Page 9 of 16




                                EXHIBIT B
 Case 21-30589-MBK     Doc 1443 Filed 02/09/22 Entered 02/09/22 19:49:13                Desc Main
                                  LTL Management
                              Document     Page LLC
                                                 10 of 16
                                    Case No. 21-30589
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                                         Page 1 of 5
 Case 21-30589-MBK    Doc 1443 Filed 02/09/22 Entered 02/09/22 19:49:13               Desc Main
                                 LTL Management
                             Document     Page LLC
                                                11 of 16
                                   Case No. 21-30589
                                 Master Service Email List



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                                        Page 2 of 5
 Case 21-30589-MBK        Doc 1443 Filed 02/09/22 Entered 02/09/22 19:49:13             Desc Main
                                     LTL Management
                                 Document     Page LLC
                                                    12 of 16
                                      Case No. 21-30589
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                                           Page 3 of 5
 Case 21-30589-MBK       Doc 1443 Filed 02/09/22 Entered 02/09/22 19:49:13              Desc Main
                                    LTL Management
                                Document     Page LLC
                                                   13 of 16
                                      Case No. 21-30589
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                                           Page 4 of 5
 Case 21-30589-MBK     Doc 1443 Filed 02/09/22 Entered 02/09/22 19:49:13                 Desc Main
                                  LTL Management
                              Document     Page LLC
                                                 14 of 16
                                   Case No. 21-30589
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                                        Page 5 of 5
Case 21-30589-MBK   Doc 1443 Filed 02/09/22 Entered 02/09/22 19:49:13   Desc Main
                           Document    Page 15 of 16




                                EXHIBIT C
 Case 21-30589-MBK   Doc 1443 Filed 02/09/22 Entered 02/09/22 19:49:13   Desc Main
                              LTL Management
                            Document           LLC
                                         Page 16  of 16
                                Case No. 21-30589



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                                       Page 1 of 1
